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                                EXHIBIT D
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 CELLULAR COMMUNICATIONS                         §
 EQUIPMENT LLC,                                  §
                                                      Case No. 2:20-CV-00078-JRG
                                                 §
 Plaintiff,                                      §
                                                 §
                                                      JURY TRIAL DEMANDED
                                                 §
         v.                                      §
                                                 §
 HMD GLOBAL OY,                                  §
                                                 §
 Defendant.                                      §

              INVALIDITY CONTENTIONS OF DEFENDANT HMD GLOBAL OY

         Under P.R. 3-3 of the Rules of Practice for Patent Cases before the Eastern District of

 Texas and the Docket Control Order governing this action, defendant HMD Global Oy hereby

 provides its invalidity contentions regarding claims 1, 2, 3, 4, and 8 of U.S. Patent No.

 7,218,923, which plaintiff Cellular Communications Equipment LLC identified in its Disclosure

 of Asserted Claims and Infringement Contentions under P.R. 3-1.

         Consistent with the Rules of Practice for Patent Cases before the Eastern District of

 Texas, the Local Rules of this Court, and the Federal Rules of Civil Procedure, defendant may

 amend these invalidity contentions as appropriate, including if plaintiff provides any information

 that it failed to provide in its disclosures under P.R. 3-1 and 3-2, or amends its disclosures under

 P.R. 3-1 or 3-2 disclosures in any way, whether explicitly or implicitly. Further, because

 discovery has only recently begun and defendant has not yet completed its search for and

 analysis of relevant prior art, defendant may revise, amend, or supplement these disclosures,

 including identifying and relying on additional references, should defendant’s further search and




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 analysis yield additional information or references, including information learned through

 third-party discovery. Further, defendant may revise, amend, or supplement these disclosures,

 including identifying and relying on additional references, in response to the Court’s findings

 regarding claim construction, the priority date of the asserted patent, or in response to positions

 that plaintiff or any expert witness retained by plaintiff may take concerning claim construction,

 infringement, or invalidity of the asserted patent. Further, defendant may revise, amend, or

 supplement these disclosures, including identifying and relying on additional references, in

 response to arguments plaintiffs present in other proceedings regarding the asserted patent,

 whether before this Court, another district court, the Patent Office, or any appellate body.

 Further, defendant may revise, amend, or supplement these disclosures, including identifying and

 relying on additional references, should it later locate additional relevant documents.

        Although defendant has included in these disclosures claim charts addressing particular

 teachings and disclosures of the prior art, which may disclose the elements of the asserted claims

 explicitly, implicitly, or inherently, persons having ordinary skill in the art may and often do

 view an item of prior art as a whole and in the context of other publications and literature and, to

 understand and interpret any specific statement or disclosure within a prior art reference, would

 rely on other information within the reference, along with other publications and their general

 scientific knowledge in the context of other publications, literature, products, and understanding.

 As a result defendant’s cited portions of prior art are merely exemplary, and defendant will rely

 on all of the cited prior art references rather than only the quoted or cited portions, as well as on

 other documents and testimony for any purpose, including for example to aid in understanding

 and interpreting the cited portions, to provide relevant context, to provide additional evidence




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 that the prior art discloses a claim limitation, to establish bases for and motivations to combine

 references. Defendant may rely on prior art identified in these disclosures; other prior art that

 defendant identifies in later disclosures; corroborating references, documentation, source code,

 products, and testimony, including materials defendant obtains through further investigation and

 third-party discovery of the prior art identified in these disclosures, that demonstrates the

 functionality identified in these disclosures; references and other documents showing the state of

 the art at the relevant time, whether or not those references and other documents themselves

 qualify as prior art, and fact or expert testimony to provide context to or aid in understanding the

 any of the foregoing.

        Although defendant makes these disclosures based, in part, on the apparent claim

 constructions advanced by plaintiff so far in this action, including in its complaint and its

 disclosures under P.R. 3-1 and 3-2, these disclosures do not admit or suggest that defendant

 agrees with plaintiff regarding the scope of the asserted claims or any construction of its

 language. Further, these disclosures do not admit or suggest that defendant agrees with plaintiff

 that any accused product or functionality meets any limitations of the asserted claims.

        Defendant’s inclusion of prior art references in its attached claim charts includes the

 publications themselves as well as the use of any products and systems they describe.

 Defendant’s inclusion of a product or system in its attached claim charts does not constitute an

 admission that patents, printed publications, or other documents describing the product or system

 fall within the scope of 35 U.S.C. § 315(e)(2). Defendant will use both documentary and

 non-documentary evidence to describe the functionality of products or systems.




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         Defendant will assert that the asserted patent is invalid under 35 U.S.C. § 102(f) in the

 event defendant obtains evidence that the named inventors of the asserted patent did not invent

 (either together or in conjunction with other parties) the subject matter claimed in the asserted

 patent. Should defendant obtain such evidence, it will provide the name of the person(s) from

 whom and the circumstances under which the invention or any part of it was derived.

         Defendant further intends to rely on inventor admissions concerning the scope of the

 prior art relevant to the asserted patent found in, ​inter alia​: the patent prosecution histories for

 the asserted patent and related patents, patent applications, and/or re-examinations; any

 deposition testimony of the named inventors on the asserted patent; and the papers filed and any

 evidence submitted by plaintiff in conjunction with this litigation.

         Discovery is in its earliest stages, and defendant’s prior art investigation and third party

 discovery is therefore not yet complete. Defendant will present additional evidence of invalidity

 if it is obtained in the future, including additional items of prior art and additional documents and

 testimony located during the course of discovery or further investigation, to show invalidity

 under 35 U.S.C. § 102(a), (b), (e), and/or (g), and/or § 103. In addition, defendant will assert

 invalidity under 35 U.S.C. § 102(c), or (d) to the extent that discovery or further investigation

 yields information forming the basis for such claims.

 I.      P.R. 3-3(b) & (c): Anticipation and Obviousness

         Claims 1, 2, 3, 4, and 8 of the ’923 patent are anticipated, expressly or inherently, and

 therefore fail to meet one or more of the requirements for patentability, as detailed in the

 invalidity claim charts in Exhibits A to N. Additionally, and in the alternative, claims 1, 2, 3, 4,




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 and 8 of the ’923 patent are obvious in view of the state of the prior art, alone or in combination

 with the references described in these exhibits.

        The “inventions” recited in the claims would have been obvious because the prior art,

 common knowledge, and the nature of the problems, viewed through the eyes of a person

 ordinarily skilled in the art, suggested the claimed elements. A person ordinarily skilled in the

 relevant fields would have possessed knowledge and skills rendering him or her capable of

 combining the prior art references with knowledge in the field and common sense. Moreover,

 the claims represent well-known combinations of familiar and pre-existing elements, yielding

 only predictable results. Defendant also provides additional reasons that a person of ordinary

 skill in the art would have been motivated to combine the identified prior art in the attached

 exhibits.

        In addition to the specific combinations of prior art and the specific combinations of

 groups of prior art disclosed, defendant will rely on any other combination of any prior art

 references disclosed herein. Defendant further will rely on combinations disclosed within the

 prosecution history of the references cited herein.

        Additionally, any reference or combination of references that anticipates or renders

 obvious an asserted independent claim also renders obvious any asserted claim dependent on that

 independent claim because every element of each dependent claim was known by a person of

 ordinary skill at the time of the alleged invention, and it would have been obvious to combine

 those known elements with the independent claims at least as a matter of common sense and

 routine innovation.




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        A.      Anticipation

        Claims 1, 2, 3, 4, and 8 of the ’923 patent are invalid as anticipated under 35 U.S.C. §

 102 in view of the prior art references identified herein as described in the claim charts included

 in Exhibits A to N, which identify specific examples of where each limitation of claims 1, 2, 3, 4,

 and 8 are found in the prior art references.

        B.      Obviousness

        To the extent any limitation is not explicitly or inherently disclosed by an item of prior art

 listed in Appendix A and/or in Exhibits A to N, the claimed subject matter as a whole would

 have been obvious to one skilled in the art at the time of the alleged invention, in view of the

 state of the art and knowledge of those skilled in the art. The item of prior art on its own as read

 by one of skill in the art would, therefore, render the relevant claims invalid for obviousness

 under 35 U.S.C. § 103(a).

        In addition, the references identified in Appendix A and in Exhibits A to N render claims

 1, 2, 3, 4, and 8 of the ’923 patent obvious when the references are read in combination with

 each other, and/or when read in view of the state of the art and knowledge of those skilled in the

 art. Any of the references disclosed herein may be combined to render obvious (and therefore

 invalidate) plaintiff’s asserted claims. Defendant may rely on a subset or all of the references

 identified in Appendix A, including all references in Exhibits A to N, for purposes of

 obviousness depending on the Court’s claim construction, positions taken by plaintiff during this

 litigation, and further investigation and discovery. Defendant may rely on combinations with

 any reference in Exhibits A to N and any of the other references disclosed herein regarding the




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 ’923 patent, including combinations with any of the patents, publications or systems identified

 herein as prior art to the ’923 patent.

         In accordance with P.R. 3-3(b), prior art references rendering claims 1, 2, 3, 4, and 8 of

 the ’923 patent obvious, alone or in combination with other references, are discussed above and

 included in Exhibits A to N, which show representative specific combinations of references,

 including citations to relevant disclosures in those references. Moreover, to the extent the

 foregoing references are found not to anticipate claims 1, 2, 3, 4, and 8, the foregoing references

 render claims 1, 2, 3, 4, and 8 obvious either alone or in combination with one or more of the

 other references identified in Appendix A under P.R. 3-3(a). Reasons that a person of ordinary

 skill in the art would have been motivated to combine the identified prior art are provided herein,

 including the attached exhibits and the discussion in Section IV below.

         In particular, defendant contends that claims 1, 2, 3, 4, and 8 of the ’923 patent would

 have been obvious in view of the primary prior art references identified in Exhibits A to N. The

 primary references teach all of the limitations of the ’923 patent’s asserted claims. To the extent

 any claim limitations are found to be missing from the primary references, in addition to the

 references designated for combination with the primary references, described in each exhibit, it

 would have been obvious to one of ordinary skill to add the missing limitation based on the

 corresponding disclosure of that limitation in Exhibits A to N. For example, to the extent a

 primary reference in Exhibits A to N is found to be missing a particular limitation of an asserted

 claim, it would have been obvious to combine that primary reference with the disclosure of that

 limitation in any one of the many references explicitly disclosing that element, including the

 disclosures of that element set out in Exhibits A to N.




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        Furthermore, there is no evidence of any indicia of nonobviousness, including any

 long-felt but unsolved need, copying, failure of others, commercial success due to the patented

 invention, industry praise, unexpected results, and industry skepticism and licensing.

        No long-felt but unsolved need. ​There was no long-felt but unsolved need that the ’923

 patent’s asserted claims purportedly solve. The concepts described in the ’923 patent were all

 well known before the alleged invention date of the ’923 patent, as evidenced by the patent itself,

 the file history and references cited therein, and the prior art identified herein, including

 identified in the above-referenced exhibits.

        No copying.​ Plaintiff has provided no evidence that the accused functionality for the

 ’923 patent was copied, or more specifically, that any functionality that practices the ’923

 asserted claims were copied. ​See Amazon.com, Inc. v. Barnesandnoble.com, Inc.,​ 239 F.3d 1343,

 1366 (Fed. Cir. 2001) (allegedly copied feature must be an embodiment of the patented claims).

        No failure of others.​ Plaintiff has not shown that there is any evidence of a failure of

 others to invent or use the claimed techniques before the alleged invention date of the ’923

 patent. Nor could it, as claims 1, 2, 3, 4, and 8 recite concepts that were already known before

 the alleged invention of the ’923 patent, as described above and in the references described in

 charts attached hereto, including in the above-referenced exhibits.

        No commercial success.​ Plaintiff has not provided any evidence of alleged success of its

 products or any other products is due to the alleged invention claimed in the ’923 patent. A

 patentee bears the burden of demonstrating that the relevant commercial success is attributable to

 the claimed invention “as opposed to other economic and commercial factors unrelated to the

 technical quality of the patented subject matter.” ​Cable Elec. Prods, Inc. v. Genmark, Inc.,​ 770




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 F. 2d 1015, 1027 (Fed. Cir. 1987). Here, plaintiff has not shown and cannot show that plaintiff’s

 success is due to the alleged invention of the ’923 patent. ​See, e.g.,​ ​ Windsurfing Int’l Inc. v.

 AMF​, 782 F. 2d 995 (Fed. Cir. 1986) (considerations such as intervening, non-covered

 technological innovations, popularity of accessories, and advertising expense are all relevant to

 the nexus determination).

         If any commercial success is due to any of the concepts discussed in the ’923 patent,

 those concepts are also present in the prior art, as described above, and thus does not show any

 commercial success that is relevant to the question of obviousness. ​Tokai Corp. v. Easton

 Enters., Inc.​, 632 F.3d 1358, 1369-70 (Fed. Cir. 2011) (“If commercial success is due to an

 element in the prior art, no nexus exists.”); ​In re Huai-Hung Kao,​ 639 F.3d 1057, 1068 (Fed. Cir.

 2011) (“Where the offered secondary consideration actually results from something other than

 what is both claimed and novel in the claim, there is no nexus to the merits of the claimed

 invention.”); ​Ormco Corp. v. Align Tech., Inc.​, 463 F.3d 1299, 1312 (Fed. Cir. 2006) (“[I]f the

 feature that creates the commercial success was known in the prior art, the success is not

 pertinent.”).

         No industry praise.​ Plaintiff has presented no evidence of industry praise for the alleged

 invention of the ’923 patent or any functionality that allegedly practices the ’923 patent. To the

 extent any praise is related to any functionality that allegedly practices the ’923 patent, that

 praise is not due to the allegedly novel features of the ’923 patent, but instead only to features

 present in the prior art, which is not a sufficient nexus to be relevant to the question of industry

 praise for purposes of obviousness. ​See Muniauction, Inc. v. Thomson Corp.​, 532 F.3d 1318,

 1328 (Fed. Cir. 2008).




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        No unexpected results.​ There is no evidence of any unexpected results when the

 elements of the ’923 asserted claims were combined. These prior art systems, as described in the

 above-referenced exhibits, disclosed the same combination of elements, and the same result of

 that combination, that is recited in claims 1, 2, 3, 4, and 8 of the ’923 patent. Thus, there were no

 unexpected results that arose from combining the well-known elements in claims 1, 2, 3, 4, and 8

 of the ’923 patent.

        No industry skepticism. ​ Plaintiff has presented no evidence that others were skeptical

 before the alleged invention date of the ’923 patent of the viability of what is claimed in the ’923

 patent. In fact, there was no industry skepticism concerning the claimed concepts that predates

 the ’923 patent. As discussed above, many companies and individuals were already using the

 concepts claimed in the ’923 patent. Thus, there was no industry skepticism that using or

 combining these well-known prior art concepts would be viable; others in the field were already

 combining them in the same manner as arranged in the ’923 asserted claims.

        Simultaneous Invention.​ As demonstrated by the evidence cited and described herein

 and in the attached exhibits, individuals working independently of the ’923 named inventors

 simultaneously or near simultaneously invented the alleged invention of claims 1, 2, 3, 4, and 8

 of the ’923 patent. This evidence supports a finding that claims 1, 2, 3, 4, and 8 would have been

 obvious to a person of ordinary skill in the art at the time of the invention. ​See Geo. M. Martin

 Co. v. Alliance Mach. Sys.,​ 618 F.3d 1294, 1305-06 (Fed. Cir. 2010) (“Independently made,

 simultaneous invention, made within a comparatively short space of time, are persuasive

 evidence that the claimed apparatus was the product only of ordinary mechanical or engineering

 skill.”) (citing ​Concrete Appliances Co. v. Gomery​, 269 U.S. 177, 184 (1925)) (internal




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 quotations omitted); see also ​Ecolochem, Inc. v. So. Cal. Edison Co.,​ 227 F.3d 1361, 1379 (Fed.

 Cir. 2000).

        C.      P.R. 3-3(d): 35 U.S.C. § 112

        The following contentions, made under P.R. 3-3(d), are subject to revision and

 amendment under Federal Rule of Civil Procedure 26(e) and the Orders of record in this matter

 to the extent appropriate in light of further investigation and discovery regarding the defenses,

 the Court’s construction of the claims at issue, and the review and analysis of expert witnesses.

        To the extent that the following contentions reflect constructions of claim limitations

 consistent with or implicit in plaintiff’s Infringement Contentions, no inference is intended nor

 should any be drawn that defendant agrees with plaintiff’s claim constructions, and defendant

 will contest such claim constructions. Defendant offers such contentions in response to

 plaintiff’s Infringement Contentions and without prejudice to any position they may ultimately

 take as to any claim construction issues.

        Because discovery is ongoing and additional claim construction may be necessary for

 plaintiff’s asserted claims, defendant may assert additional grounds for the invalidity of claims 1,

 2, 3, 4, and 8 based on 35 U.S.C. § 112.

                1.      Section 112(2) Invalidity Contentions

        Based on plaintiff’s apparent construction of the claims of the asserted patent (as

 expressed in its Infringement Contentions), defendant lists below the grounds on which it

 presently contends that claims 1 and 8 of the ’923 patent are invalid under 35 U.S.C. § 112(2) for

 indefiniteness. Regarding each of the below claim limitations, the patent fails to particularly

 point out and distinctly claim the subject matter that the inventor regards as the invention.




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                                    Deficient Claim Limitation

  “a message of the messages” in independent claim 1

  “the messages” in dependent claim 8, in view of “a message of the messages” in independent
  claim 1

  “diverting . . . to a controlling entity” in independent claim 1

  “controlling entity” in independent claim 1

  “controlling” in independent claim 1



 IV.    REASONS TO COMBINE

         For at least the reasons described above and below in the examples provided, as well as

 in the attached claim charts, it would have been obvious to one of ordinary skill in the art to

 combine any of a number of prior art references, including any combination of those identified in

 exhibits corresponding to the ’923 patent to meet the limitations of claims 1, 2, 3, 4, and 8. As

 such, defendant’s identification of exemplary combinations is without limitation to defendant

 identifying other invalidating combinations as appropriate.

        Defendant believes that no showing of a specific motivation to combine prior art is

 required to combine the references disclosed herein and in the attached charts. As reflected in

 the attached exhibits, and in the references themselves, there was a reason to make each

 combination—each combination of art would have produced no unexpected results, and each

 combination at most would simply represent a known alternative to one of ordinary skill in the

 art. ​See KSR Int’l Co. v. Teleflex, Inc.,​ 550 U.S. 398, 414-18 (2007) (rejecting the Federal

 Circuit’s “rigid” application of the teaching, suggestion, or motivation-to-combine test, instead

 espousing an “expansive and flexible” approach). As reflected in the attached exhibits, in the




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 references themselves, and the discussion herein, claims 1, 2, 3, 4, and 8 of plaintiff’s patent

 combine familiar elements according to known methods, yielding predictable results. Moreover,

 one of ordinary skill in the art would be prompted to modify each of these references based on

 design incentives or other market forces. This is true for references in the same field of endeavor

 as well as for references in a different field of endeavor, as one of skill would understand that

 techniques used to improve devices in a related or analogous field could improve similar devices

 in the same way. No specific reference explicitly spelling out all aspects of a proposed

 combination is required to show obviousness; indeed, the Supreme Court has explained that a

 person of ordinary skill is “a person of creativity, not an automaton,” and “in many cases a

 person of ordinary skill in the art will be able to fit the teachings of multiple patents together like

 pieces of a puzzle.” ​Id. ​at 420-21. As reflected in the attached exhibits, the discussion herein,

 and in the references themselves, the elements of plaintiff’s asserted patent claims are all

 disclosed in the art before the asserted patent’s earliest possible priority dates, and one of skill

 would readily fit their teachings together.

        Nevertheless, in accordance with the Patent Rules, and in addition to the information

 contained elsewhere in these contentions, including the exhibits, defendant hereby identifies

 below additional motivations and reasons to combine the cited art. To determine whether there

 is a reason to combine the known elements in the manner claimed by a patent, a court can “look

 to interrelated teachings of multiple patents; the effects of demands known to the design

 community or present in the marketplace; and the background knowledge possessed by a person

 having ordinary skill in the art.”​ Id.​ at 418. For example, obviousness can be demonstrated by

 showing “there existed at the time of invention a known problem for which there was an obvious




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 solution encompassed by the patent’s claims.” ​Id. ​at 420. “[A]ny need or problem known in the

 field of endeavor at the time of invention and addressed by the patent can provide a reason for

 combining the elements in the manner claimed.” ​Id.​ Common sense also teaches that “familiar

 items may have obvious uses beyond their primary purposes, and in many cases a person of

 ordinary skill will be able to fit the teachings of multiple patents together like pieces of a

 puzzle.”​ Id.

         Applying these principles, it would have been obvious to a person of ordinary skill in the

 art at the time the application that issued as the asserted patent was filed to combine, modify, or

 use the teachings of the prior art to make the purported invention of the patent, including by

 making each of the combinations identified above. The motivation to combine the teachings of

 the prior art references disclosed herein can be found in each of (1) the references themselves;

 (2) the nature of the problem being solved; (3) the express, implied, and inherent teachings of the

 prior art; (4) the knowledge of persons of ordinary skill in the art; (5) the fact that the prior art is

 generally directed towards the subject matter of each respective asserted patent; and (6) the

 predictable results obtained in combining the elements of the prior art.

         The ’923 patent is obvious in light of the state of the art and/or knowledge of a person of

 ordinary skill in the art, as demonstrated by prior art and references in Exhibits A to N, to the

 extent the claims are not invalid under 35 U.S.C. §§ 101, 102, and/or 112.

         The primary references in Exhibits A to N are identified above. To the extent these

 references are found to not anticipate claims 1, 2, 3, 4, and 8, they render the claim obvious,

 whether standing alone, or when combined with knowledge of the ordinary artisan, the nature of

 the problem to be solved, and/or the references in Exhibits A to N.




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        To the extent the references discussed herein or in Exhibits A to N are found to lack

 particular elements of claims 1, 2, 3, 4, and 8, those elements would have represented mere

 obvious modifications of the references themselves. Each asserted claim would have been

 obvious in view of the primary references alone. All of the references identified Exhibits A to N

 are in the same field of endeavor, and in particular, relate to controlling the rights and behavior

 of applications in a communication terminal. Moreover, the combination of the references in

 Exhibits A to N would simply be a matter of combining known elements in a known manner to

 achieve predictable results. To the extent that any limitation is determined not to be disclosed in

 any of these references, it would have been obvious to combine any of these references to

 provide the allegedly missing limitation.

        Furthermore, all of the references identified herein regarding the ’923 patent address the

 wide range of security measures in communication terminals in considering possible solutions to

 problems identified in the ’923 patent, including the misuse of applications in communication

 terminals. A person of ordinary skill in the art would have looked to other devices in the same

 field, such as the prior art and other references, because all of these references share many of the

 same or substantially similar components. The use of such components is expressly described in

 Exhibits A to N. A person of ordinary skill in the art would therefore have been motivated to

 combine these components, knowing that these well-known elements would achieve their

 purposes in combination, without any difficulty and without any unexpected results.

        One of ordinary skill also would have been motivated to combine any of the above

 references together to yield predictable results, as combining the references would simply entail

 combining known elements by known methods in the art. In addition, any such combination




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 would involve the simple substitution of one known, equivalent element for another. Such

 combinations would have been obvious to try because there were only a finite number of

 predictable solutions. Any such combination would yield predictable results using known

 techniques and would involve the simple substitution of one known, equivalent element for

 another. For example, the prior art contains numerous disclosures directed toward controlling

 the rights and behavior of applications in a communication terminal.




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